           Case 1:20-cv-02578-BMC Document 13
                                           10 Filed 09/10/20
                                                    09/09/20 Page 1 of 2 PageID #: 106
                                                                                   100

Summons in a Civil Action


                            UNITED STATES DISTRICT COURT
                                                  for the
                                   Eastern District of New York
                                                       )
Stuart Force individually and as personal              )
representative of the ESTATE OF TAYLOR                 )
FORCE, et al.                                          )
                                                       )
                               Plaintiff(s)
                                                       )    Civil Action No. 20-cv-2578%0&
                                   v.
                                                       )
Qatar Charity,                                         )
Qatar National Bank and                                )
Masraf Al Rayan,                                       )
                                                       )
                              Defendant(s)


                                $0(1'('SUMMONS IN A CIVIL ACTION

To:      Qatar Charity
         $KPHG%DQ+DQEDO6WUHHW
         Doha, Qatar

          A lawsuit has been filed against you.

         Within  days after service of this summons on you (not counting the day you received it)
 you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffs or
 plaintiffs’ attorney, whose name and address is:

           James P. Bonner (jbonner@fbrllp.com)
           Fleischman Bonner & Rocco LLP
           81 Main Street, Suite 515
           White Plains, New York 10601
       If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

         You also must file your answer or motion with the court.

                                                             CLERK OF COURT Douglas C. Palmber

             9/10/2020                                          By: Roseann Guzzi
 Date:
                                                                      Signature of Clerk or Deputy Clerk
            Case 1:20-cv-02578-BMC Document 13
                                            10 Filed 09/10/20
                                                     09/09/20 Page 2 of 2 PageID #: 107
                                                                                    101

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

          0     I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or


          0     I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual's last known address; or

          0     I served the summons on (name of individual)                                                                   , who is
              designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

          0     I returned the summons unexecuted because                                                                           ; or


          0     Other (specify):
                                                                                                                                           .


           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.




 Date:
                                                                                              Server's signature



                                                                                          Printed name and title




                                                                                              Server's address


Additional information regarding attempted service, etc:
